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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

 MICHAEL KENT, Individually and On Behalf          )
 of All Others Similarly Situated,                 )
                                                   )
                         Plaintiff,                ) Case No. 1:19-cv-02229-CFC
                                                   )
           v.                                      )
                                                   )
 CISION LTD., MARK M. ANDERSON,                    )
 PHILIP A. CANFIELD, MARK D. EIN, L.               )
 DYSON DRYDEN, KEVIN AKEROYD,                      )
 STEPHEN P. MASTER, SUSAN VOBEJDA,                 )
 STUART YARBROUGH, DAVID KRANTZ,                   )
 PLATINUM EQUITY ADVISORS, LLC,                    )
 MJ23 UK ACQUISITION LIMITED, and                  )
 CASTLE MERGER LIMITED,                            )
                                                   )
                         Defendants.               )

                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action, and no class has been certified in the

Action.

 Dated: April 20, 2020                               RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
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